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 4
                                  UNITED STATES DISTRICT COURT
 5
                                          DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                 )
 8                                             )
                       Plaintiff,              )                   Case No. 2:17-cr-00042-APG-CWH
 9                                             )
     vs.                                       )                   ORDER
10                                             )
     EDWIN ARNOLD, JR.,                        )
11                                             )
                       Defendant.              )
12   __________________________________________)
13          Presently before the court is Defendant Edwin Arnold’s letter (ECF No. 39) to the court
14   regarding his motion to suppress, filed on May 8, 2017. Defendant is represented by attorney
15   Thomas Ericsson. (Order Appointing Counsel (ECF No. 34).)
16          Under Local Rule IA 11-6(a), “[a] party who has appeared by attorney cannot while so
17   represented appear or act in this case. This means that once an attorney makes an appearance on
18   behalf of a party, that party may not personally file a document with the court; all filings must
19   thereafter be made by the attorney.” Given that Defendant is represented by Mr. Ericsson, the court
20   will not take any action with respect to Defendant’s letter. Defendant is advised that all filings in
21   his case must be made by his attorney.
22          IT IS SO ORDERED.
23          DATED: May 15, 2017
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25                                                 ______________________________________
                                                   C.W. Hoffman, Jr.
26                                                 United States Magistrate Judge
27
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